         Case 19-01115-mkn         Doc 12    Entered 12/09/19 21:28:41   Page 1 of 2




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10 Plaintiff Tresóna Multimedia, LLC
11                             UNITED STATES BANKRUPTCY COURT
12                                        DISTRICT OF NEVADA
13
      In Re:                                        Case No. BK 19-15506-mkn
14
                                                    Chapter 7
15    STEPHEN THOMAS LIPPIA and
      LORI L. ANDERSEN-LIPPIA                       Adversary No 19-01115-mkn
16
                                                    CORPORATE OWNERSHIP
17                   Debtors                        STATEMENT
                                                    (RULE 7007.1)
18
19    Tresóna Multimedia, LLC, an Arizona
      limited liability company,
20
21                   Plaintiff,
               v.
22
23    STEVEN THOMAS LIPPIA and LORI
      L LIPPIA, a.k.a. Lori Andersen, a
24    married couple dealing with their
      individual and community property,
25
                    Defendants.
26
27
        Case 19-01115-mkn      Doc 12    Entered 12/09/19 21:28:41      Page 2 of 2



                  CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)
 1
 2         Pursuant to Federal Rules of Bankruptcy Procedure 7007.1 and Local Rule 7007.1, to
   enable the Judges to evaluate possible disqualification or recusal, the undersigned officer of
 3 Plaintiff Tresona Multimedia LLC in the above-captioned action, certifies that the following
 4 is a corporation, other than the debtor or a governmental unit, that directly or indirectly owns
   ten-percent (10%) or more of any class of the corporation’s equity interest:
 5
 6
           GREENBOOTH LLC
 7         8703 E. Via De Viva
           Scottsdale, AZ 85258
 8         Debtor’s Parent Company
 9
10         DATED this 9th day of December, 2019.
11                                     TRESONA MULTIMEDIA, LLC
12
                                       __/s/ Jann-Michael Greenburg____________________
13                                     Jann-Michael Greenberg
14                                     VP of Business Affairs

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